
TAM Medical Supply Corp., as Assignee of Acevedo, Constantino, Appellant,
againstOmni Indemnity Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Carmen R. Velasquez, J.), entered June 2, 2014. The order, insofar as appealed from, upon reargument and, in effect, renewal, adhered to a prior order of the same court entered February 21, 2014 which granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order entered June 2, 2014, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, by order entered February 21, 2014, the Civil Court granted defendant's motion for summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the vehicle which was involved in the accident in question. Plaintiff subsequently moved for reargument and, in effect, renewal. Plaintiff appeals from so much of an order of the Civil Court, entered June 2, 2014, as upon reargument and, in effect, renewal, adhered to the February 21, 2014 order.
For the reasons stated in Tam Med. Supply Corp. v Omni Indem. Co. (48 Misc 3d 142[A], 2015 NY Slip Op 51294[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order entered June 2, 2014, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 11, 2017










